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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA

                      Plaintiff,

                         v.                            Criminal Action No. 17- 232 (EGS)

MICHAEL T. FLYNN,

                      Defendant.



                                   MOTION OF JOHN GLEESON FOR
                                     ADMISSION PRO HAC VICE


              Pursuant to Rule 83.2(d) of the Local Rules of this Court, John Gleeson, by undersigned

sponsoring counsel, moves the Court for permission to appear pro hac vice in the above-captioned case.

In support of the motion, Mr. Gleeson provides his declaration, attached as Exhibit A.

              The undersigned further moves that Mr. Gleeson be conferred full privileges to file and

receive papers through the Court’s CM/ECF system in this proceeding, the same as if he were a member

of the Bar of this Court; and that Mr. Gleeson be excused from the requirement of Local Civil Rule

83.2(c)(1) that a member in good standing of the Bar of this Court must join and sign papers he may file

in this proceeding, based on Mr. Gleeson’s broad experience in litigating in numerous federal judicial
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districts and his colleagues and support staff who are experienced litigating in this Court and filing

papers in its CM/ECF system.



       Dated: May 15, 2020                   Respectfully submitted,



                                             Counsel for Petitioners:

                                                  /s/ Timothy Beeken
                                             Timothy Beeken (N.Y. Bar No. 2492650)
                                             DEBEVOISE & PLIMPTON LLP
                                             919 Third Avenue
                                             New York, NY 10022-3916
                                             Phone: 212 909 6000
                                             tkbeeken@debevoise.com
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                                                                                      EXHIBIT A

                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

                         Plaintiff,

                            v.                         Criminal Action No. 17- 232 (EGS)

MICHAEL T. FLYNN,

                         Defendant.



                                        DECLARATION OF JOHN GLEESON

       I, JOHN GLEESON ("Applicant"), declare as fol1ows:

       1.      Request for Admission: Applicant is a partner in the law firm Debevoise & Plimpton LLP

and requests admission pro hac vice pursuant to the Court’s appointment of Applicant to serve as amicus

curiae in this matter.


       2.      Name and Address of Applicant’s Law Firm:

               Debevoise & Plimpton LLP
               919 Third Avenue
               New York, NY 10022
               Tel: 212-909-6000
               Fax: 212-909-6836


       3.      Bar Admission(s): Applicant is a member of the following courts and bars:

               New York State Bar
               Admitted December 23, 1981
               Bar No. 1820992 - AD2
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               Eleventh Circuit
               Admitted May 1, 2020
               Bar No. 032511528


               U.S. District Court for Northern Illinois
               Admitted October 16, 2019
               Bar No. 1820992

               U.S. District Court for the Eastern District of Michigan
               December 27, 2019

               U.S. District Court for the Eastern District of New York
               Admitted June 13, 1984
               Bar No. JG9924

               U.S. District Court for the Northern District of New York
               Admitted September 20, 2019
               Bar No. 701317

               U.S. District Court for the Southern District of New York
               Admitted June 28, 1983
               Bar No. JG9924 (Attorney’s UPI # 0992)

               U.S. District Court for the Western District of New York
               Admitted July 29, 2019

               Second Circuit
               Admitted November 7, 2016

               Third Circuit
               Admitted October 28, 1991


       4.      Certification of Good Standing: Applicant certifies that he has not been disbarred, censured,

or disciplined by any court of record or state bar association. There are no pending disciplinary

proceedings against Applicant.


       5.      Previous Appearances in this Court: Applicant has not been admitted pro hac vice in this

Court within the last two years.
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       6.     Residence Outside District: Applicant resides and practices law from an office outside this

district, is not a member of the District of Columbia Bar, and does not have an application for membership

pending.


       I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND

CORRECT.

EXECUTED this 15th day of May 2020.




                                                    John Gleeson
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                        Plaintiff,

                           v.                           Criminal Action No. 17- 232 (EGS)

MICHAEL T. FLYNN,

                        Defendant.




                                       [PROPOSED] ORDER

       UPON CONSIDERATION of the Motion of John Gleeson made pursuant to Rule

83.2(d) of the Local Rules of this Court and the supporting declaration, the Court grants

attorney John Gleeson pro hac vice admission to this Court.


       UPON CONSIDERATION of the Motion of John Gleeson to be conferred full

privileges to file and receive papers through the Court’s CM/ECF system in this

proceeding and be excused from the requirement of Local Civil Rule 83.2(c)(1) that

papers he files must join and be signed by a member of the Bar of this Court, the Motion

is GRANTED.


       IT IS, this is           day of May, 2020, SO ORDERED.



                                        The Honorable Emmet G. Sullivan
                                        United States District Judge
